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                              EXHIBIT 1
(Church Militant’s Initial Responses to First Request for The Production of Documents)
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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE


VERY REVEREND GEORGES F. DE LAIRE, J.C.L.,

                   Plaintiff,

v.                                                                 Case No. 1:21-CV-00131-JD

GARY MICHAEL VORIS; ANITA CAREY; ST.
MICHAEL’S MEDIA a/k/a CHURCH MILITANT,

                   Defendants.


      ST. MICHAEL’S MEDIA A/K/A CHURCH MILITANT RESPONSES TO VERY
         Reverend georges f. de laire, j.cl.s. first requests for
                               PRODUCTION

          Defendant, St. Michael’s Media a/k/a Church Militant, by and through its counsel.

submits the following as its responses to the Very Reverend Georges F. De Laire, J.C.L.’s First

Requests for Production dated June 28,2021:

         1.     All documents related to the investigation, writing, and publication of the article
entitled “NH Vicar Changes Dogma Into Heresy,” published on January 17, 2019, including but
not limited to all notes, recordings of interviews, communications about the article, and records
related to discussions with sources.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment.




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          2.   All documents related to the investigation, script writing, and publication of the
video entitled “The Vortex” Attacking the Good Guys,” published on April 15, 2019, including
but not limited to all notes, recordings of interviews, communications about the video, and
records related to discussions with sources.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment. Church Militant further

objects because the request seeks information that is not relevant and not likely to lead to

the discovery of admissible evidence.




          3.   All documents related to the investigation, writing, and publication of the article
entitled “NH Diocese Violates Parishioners’ Rights to Demolish Church,” published on June 25,
2019, including but not limited to all notes, recordings of interviews, communications about the
video, and records related to discussions with sources.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment. Church Militant further

objects because the request seeks information that is not relevant and not likely to lead to

the discovery of admissible evidence.




       4.     Copies of all articles and videos published, posted, or promoted on the Church
Militant Website which mention or discuss Father de Laire.

RESPONSE: All responsive documents are found on Church Militant’s public website.




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       5.      Copies of all drafts of articles and videos, whether published or unpublished,
authored in whole or in part by a Church Militant employee or representative which discus,
describe, or mention Father de Laire.

RESPONSE: Other than those produced in response to Request 4, Church Militant has no

responsive documents in its custody or control.




      6.      All communications to or from any and all Church Militant employees which in
any way discusses or references Father de Laire.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment. Church Militant further

objects because the request seeks information that is not relevant and not likely to lead to

the discovery of admissible evidence.




          7.  All communications with any source who provided information about Father de
Laire in connection with the publication of the article “NH Vicar Changes Dogma Into Heresy,”
attached as Exhibit C to the Complaint.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment.




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        8.    All communications with any source who provided information about Father de
Laire in connection with the publication of the video “The Vortex: Attacking The Good Guys.”

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment. Church Militant further

objects because the request seeks information that is not relevant and not likely to lead to

the discovery of admissible evidence.




        9.    All communications with any source who provided information about Father de
Laire in connection with the publication of the article “NH Diocese Violates Parishioners’ Rights
to Demolish Church.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment. Church Militant further

objects because the request seeks information that is not relevant and not likely to lead to

the discovery of admissible evidence.




       10.    All communications with any representative of the Roman Catholic Church which
mention, discuss, refer to, or relates to Father de Laire.

RESPONSE:       Church Militant objects to this request because it is overbroad and unduly

burdensome.     Church Militant further objects to this request because it is vague and

ambiguous in that it does not define “representative of the Roman Catholic Church” and

the term may include information that is protected by New Hampshire’s newsgathering

privilege and the First Amendment.




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       11.     All internet postings published by Defendants, whether on the Church Militant
Website or elsewhere, concerning Father de Laire.

RESPONSE: Other than those produced in response to Request 4, Church Militant has no

responsive documents in its custody or control.




        12.     All documents consulted or reviewed in preparing answers to Father de Laire’s
First Set of Interrogatories to Defendant St. Michael’s Media a/k/a Church Militant..

RESPONSE: Other than those produced in response to Request 4, Church Militant has no

responsive documents in its custody or control.




       13.    All notes taken by Defendants and/or their employees, agents, representatives, or
anyone else acting on their behalf, in the process of drafting any article, video, or internet post
concerning Father de Laire.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment. Church Militant further

objects because the request seeks information that is not relevant and not likely to lead to

the discovery of admissible evidence.



        14.   All “comments” made via the internet on churchmilitant.com or elsewhere
responding directly to articles or videos published or posted in any location by Defendants,
including any comments which have since been deleted but which are archived by Defendants,
which concern or mention Father de Laire.

RESPONSE: Church Militant objects to this request because it is overbroad and unduly

burdensome. Subject to these objections, Church Militant responds that all responsive

documents are found on its website.



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        15.    All communications from visitors to the Church Militant Website concerning or
referencing Father de Laire, or referencing any article which references Father de Laire.

RESPONSE; Other than those produced in response to Request 14, Church Militant has

no responsive documents in its custody or control.




        16.    All communications between Defendants and the Saint Benedict Center in
Richmond, New Hampshire, or with any members of the Slaves of the Immaculate Heart who
operate the Saint Benedict Center, which concern, mention, or reference Father de Laire.

RESPONSE:           Church Militant objects to this request because it is overbroad and unduly

burdensome. Church Militant further objects because the information is protected by New

Hampshire’s newsgathering privilege and the First Amendment.



        17.   All social media posts or comments you wrote, published, uploaded, or otherwise
made concerning or referencing Father de Laire, whether on Twitter, Facebook, Instagram,
Reddit, TikTok, or any other social media platform.

RESPONSE: Other than those produced in response to Requests 4 and 14, Church

Militant has no responsive documents in its custody or control.




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      18.      All documents concerning the facts, incidents, or allegations contained in the
Complaint, or that you may use to controvert the allegations of the Complaint.

RESPONSE: Church Militant objects to this request because it is vague, over broad and

unduly burdensome. Church Militant further objects because the information is protected

by New Hampshire’s newsgathering privilege, the First Amendment, the attorney client

privilege and the work product doctrine.




        19.    All documents concerning the Answer, including documents that refer or relate to
the factual denials made in the Answer and the affirmative defenses asserted therein.

RESPONSE: Church Militant objects to this request because it is vague, over broad and

unduly burdensome. Church Militant further objects because the information is protected

by New Hampshire’s newsgathering privilege, the First Amendment, the attorney client

privilege and the work product doctrine.



        20.     All communications with any person relating to this Action and/or any of the
allegations, averments and/or denials made in the Pleadings (i.e., the Complaint and the Answer),
as well as any documents concerning such communications.

RESPONSE: Church Militant objects to this request because it is vague, over broad and

unduly burdensome. Church Militant further objects because the information is protected

by New Hampshire’s newsgathering privilege, the First Amendment, the attorney client

privilege and the work product doctrine.




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       21.    All affidavits, witness statements, and/or transcripts given or received by you
concerning the claims and defenses asserted by any party in this action.

RESPONSE: Church Militant has no responsive documents.



        22.    With respect to each expert witness you retained or specially employed to provide
expert testimony in this Action:
               a.      All reports prepared by each expert witness, if any;
               b.      The curriculum vitae of each expert witness, including all publications
                       authored by the witness within the preceding ten (10) years;
               c.      All documents and data considered and/or relied upon by each expert in
                       forming any opinion or conclusion, including any exhibits to be used as a
                       summary of the opinion;
               d.      All documents provided to, prepared by, or prepared at the direction of
                       each expert witness in this Action;
               e.      Your communications with each expert, including without limitation all
                       requests for information from an expert not originally provided to the
                       expert in this Action;
               f.      Documents sufficient to identify the compensation to be paid for the study
                       and testimony in this case; and
               g-      A   list of all other cases in which the witness has testified as an expert at
                       trial or by deposition within the preceding four (4) years.

RESPONSE: Church Militant has not retained an expert and reserves all objections.




         23.   All documents you reviewed or consulted in answering the Interrogatories, if any.

RESPONSE: Church Militant will produce responsive documents.



         24.   All documents identified in your responses to the Interrogatories, if any.

RESPONSE: Church Militant will produce responsive documents.




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Respectfully submitted,

MADDIN, HAUSER, ROTH & HELLER, P.C.          NICHOLSON LAW FIRM, PLLC

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